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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF ARKANSAS
                                                  CENTRAL DIVISION

IN RE: DOMINIC ALLEN                                                                CASE NO: 4:16-bk-14326 J
                                                                                             Chapter 13




                                      CHAPTER 13 ORDER REVOKING
                                            PAYROLL DEDUCTION


   Before the court for consideration is the matter of revocation of the Chapter 13 Order to Pay Trustee

previously entered directing the employer of the debtor to withhold certain sums from the debtor's compensation

each month. It appears to the court that other arrangements have been made.

   IT IS ORDERED that the Chapter 13 Order to Pay Trustee previously entered directing

                                     RETIF OIL & FUEL LLC
                                     ATTN PAYROLL
                                     3850 N WILKE RD
                                     ARLINGTON HEIGHTS, IL 60004


to withhold sums of money from the pay of the debtor should be, and hereby is, revoked. The debtor's employer

shall stop withholding payments from the debtor and cease making payments to the Trustee .


Date: 02/23/2022                                                        /s/ PHYLLIS M. JONES
                                                          Phyllis M. Jones, Bankruptcy Judge

cc: DOMINIC ALLEN
    TRINIDY ALLEN - U.S.P.S.
    MATTHEW D MENTGEN (ACH) - Electronic
    JACK W GOODING - Electronic
